      Case 2:13-cr-02088-SAB           ECF No. 159   filed 05/12/14   PageID.676 Page 1 of 2




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 5                           UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7
     UNITED STATES OF AMERICA,                         No. 2:13-CR-2088-RHW-2
 8
 9                        Plaintiff,                   ORDER DENYING DEFENDANT’S
10 vs.                                                 MOTION FOR RECONSIDERATION

11 JOVITA ELSIE COLWASH,                               ☒      Motion Denied
                                                              (ECF No. 142)
12
                 Defendant.
13                                                     ☐      Action Required
14
15   Date of bail review hearing: 05/09/2014
16   ☒     There are no conditions or combination of conditions other than detention
17   that will ensure the safety of the community.
18         The Court found the proposed residence to be unsuitable. Defendant
19   reportedly smoked ICE when she was 2 months pregnant while living at this
20   residence. Defendant is known to use methamphetamine and alcohol. Defendant
21   has a history with weapons and several were seized from this residence and from
22   Defendant’s vehicle. The residence belongs to Defendant’s mother who has lied to
23   law enforcement on numerous occasions when questioned about Defendant.
24         Defendant may reopen detention if she is able to prove the jail is not
25   adequately caring for her needs and if a suitable residence is located and approved
26   by U.S. Probation.
27
28
     ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION - 1
      Case 2:13-cr-02088-SAB     ECF No. 159   filed 05/12/14   PageID.677 Page 2 of 2




 1         IT IS ORDERED Defendant’s Motion for release from custody (ECF No.
 2   142) is DENIED. Defendant shall remain in the custody of the U.S. Marshal
 3   pending further order of the court.
 4         DATED May 12, 2014.
 5
                                  s/James P. Hutton
 6                               JAMES P. HUTTON
 7                       UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION - 2
